              NO. 07-10-00177-CV, 07-10-00178-CV, 07-10-00179-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL A
                                       
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DECEMBER 10, 2010
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                         KENNETH GLENN WEBB, APPELLANT
                                       
                                      v.
                                       
                         THE STATE OF TEXAS, APPELLEE 
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                FROM THE 181ST DISTRICT COURT OF RANDALL COUNTY;
                                       
       NOS. 11,994-B, 18-617-B, 18-618-B; HONORABLE JOHN B. BOARD, JUDGE
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Before CAMPBELL and HANCOCK and PIRTLE, JJ.


                              MEMORANDUM OPINION
                                       
By order of this Court, dated May 27, 2010, each of the referenced causes were abated and remanded to the trial court for a period of 180 days to allow appellant, Kenneth Glenn Webb, time to take such action as necessary to establish that the appeals were not prematurely filed or to obtain final, appealable orders.  To date, Webb has not established that the appeals were not prematurely filed nor has this Court been provided final, appealable orders.  Consequently, we conclude that the notices of appeal filed by Webb in these causes were not appeals of final judgments or orders, that no statutory authority would permit Webb to file interlocutory appeals on these causes, and that we, therefore, lack jurisdiction to hear these appeals.
	For the foregoing reasons, the appeals in the referenced causes are dismissed for want of jurisdiction.  See Tex. R. App. P. 42.3(a).

						Mackey K. Hancock
							Justice



